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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA

                        v.                          Case No. 1:21-cr-00582 (CRC)

 MICHAEL A. SUSSMANN,

                        Defendant.

                                             ORDER

       Defendant Michael Sussmann is charged with a single count of making a materially false

statement to an FBI official, in violation of 18 U.S.C. § 1001. Indictment ¶ 46. The charge

arises out of a September 2016 meeting between Mr. Sussmann and the FBI’s then-General

Counsel, James A. Baker, during which Sussmann provided Mr. Baker with three “white papers”

and associated data files that he said would substantiate a reported link between a Russia’s Alfa

Bank and Donald Trump’s presidential campaign. Id. ¶¶ 2–3. The false statement charged in the

Indictment does not relate to the substance of the shared material, but rather to Sussman’s

alleged erroneous statement that he was not attending the meeting on behalf of a client. Id. ¶ 30.

       Trial is set to begin next month. The parties have filed a bevy of pre-trial evidentiary

motions. At Mr. Sussmann’s request, the Court heard expedited argument on two issues that

bear on the preparation of his defense: (1) Sussmann’s motion in limine to preclude evidence

regarding the gathering or accuracy of the data provided to the FBI, see ECF No. 60 (“Data

Mot.”); and (2) Sussmann’s motion to exclude the government’s proposed expert witness

testimony, see ECF No. 66 (“Expert Mot.”). As explained below, the Court will grant in part and

deny in part each motion. The Court also reserves certain issues for further evaluation after this

week’s hearing on the remainder of the evidentiary motions.
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       A. Motion in Limine on Data

       The Court begins with Mr. Sussman’s motion to preclude the introduction of evidence

about how the data he provided to the FBI was gathered, the accuracy of that data, and

purportedly related information in the dossier put together by former British intelligence officer

Christopher Steele. The Court will reserve judgment on much of this motion, as many of these

issues are linked closely with the subjects of other motions in limine that have yet to be argued.

However, whether and to what extent the Court will allow in evidence about the data’s accuracy

bears directly on Sussmann’s request to exclude the government’s proposed expert testimony.

With respect to those issues, the Court will grant the motion in part and deny it in part, although

it again reserves judgment on certain issues.

       The Court begins with the parties’ concessions, which narrow the field of play

significantly. In its opposition brief, the government explains that, should Sussmann “concede or

decline to dispute the fact that no secret channel of communications actually existed” between

the relevant computer server, the Trump Campaign, and Alfa Bank, it would not seek to offer

proof concerning the ultimate accuracy and reliability of the data. Gov’s Opp’n to Def.’s Mots.

In Limine at 20, ECF No. 70. At the hearing, defense counsel stated that he will not seek to

affirmatively prove the existence of a link between Alfa Bank and the Trump Campaign. See

Mot. Hr’g Tr. at 4: 6–8. With that representation, the Court will hold the government to its

word, and will not allow it to put on extensive evidence about the accuracy of the data Mr.

Sussmann provided to the FBI unless Mr. Sussmann does so first.

       That does not end the inquiry, however, as the parties disagree about (1) what remains of

the government’s data-related evidence; and (2) what Mr. Sussmann could do at trial to put the

data’s accuracy at issue.



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       Starting with the first question, the Court will permit the government to put on evidence

reflecting the FBI’s ultimate conclusions—which the Court understands to be that the Alfa Bank

allegations were unsubstantiated—as well as the “particular investigative and analytical steps”

the FBI took to reach them. Gov’s Opp’n to Def.’s Mots. In Limine at 20. Such evidence is

relevant to the government’s theory of materiality: that Mr. Sussmann’s alleged statement that

he was not representing a client caused the FBI to handle the subsequent investigation differently

than it otherwise would have. See Indictment ¶ 32. How that investigation ultimately proceeded

and the conclusions it reached are relevant to that inquiry.

       Some of the evidence the government discussed at the recent hearing does not fall into

those permissible categories. In particular, the Court will not allow representatives of the

companies who maintained the servers that purportedly received communications from Alfa

Bank servers to testify about their involvement in the FBI’s investigation. Contrary to the

government’s assertions, see Mot. Hr’g Tr. at 7:23–8:15, this evidence does not appear to be

probative of why the FBI took the investigative steps it did, and is at a minimum unnecessarily

duplicative of other, more direct evidence of the same. See Fed. R. Evid. 403; United States v.

Pole, 741 F.3d 120, 125–26 (D.C. Cir. 2013) (deferring to district court’s exclusion of

duplicative evidence where “limited probative value . . . was substantially outweighed by the

distraction that might have resulted”). For the same reasons, the Court will not allow extensive

discussion of another federal agency’s investigation into the same data Mr. Sussmann provided,

except to the extent that agency’s findings and analysis had direct bearing on the course of the

FBI’s investigation.

       Finally, the Court takes a moment to explain what could open the door to further

evidence about the accuracy of the data Mr. Sussmann provided to the FBI. As the defense



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concedes, such evidence might be relevant if the government could separately establish “what

Mr. Sussmann knew” about the data’s accuracy. Data Mot. at 3. If Sussmann knew the data was

suspect, evidence about faults in the data could possibly speak to “his state of mind” at the time

of his meeting with Mr. Baker, id., including his motive to conceal the origins of the data. By

contrast, Sussmann would not open the door to further evidence about the accuracy of the data

simply by seeking to establish that he reasonably believed the data were accurate and relied on

his associates’ representations that they were. Such a defense theory could allow the government

to introduce evidence tending to show that his belief was not reasonable—for instance, facially

obvious shortcomings in the data, or information received by Sussmann indicating relevant

deficiencies. But it would not open the door to a lengthy and complex exploration of the

underlying data.

       Beyond these broad guidelines, the Court will reserve any other judgment about the

issues raised in Sussmann’s motion regarding discussions of data.

       B. Motion to Exclude Expert Testimony

       With this background in mind, the Court can more easily resolve Mr. Sussmann’s request

to exclude testimony from the government’s proposed expert, FBI Special Agent David Martin.

“The district court has a gatekeeping responsibility to ensure that any expert testimony is based

on ‘scientific knowledge’ that ‘will assist the trier of fact to understand or determine a fact in

issue.’” United States v. McGill, 815 F.3d 846, 903 (D.C. Cir. 2016) (quoting Daubert v.

Merrell Dow Pharm., Inc., 509 U.S. 579, 592 (1993)); see also Fed. R. Evid. 702. The Court will




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largely deny the motion and allow Special Agent Martin’s proposed testimony, subject to some

limitations consistent with the analysis above. 1

       Assuming Special Agent Martin is qualified as an expert, the Court will allow him to

testify about three general topics: first, and most significantly, background information

necessary to understand the relevant data, including the “basic mechanics, architecture, and

terminology” of the kind of computer systems at issue; second, the type of conclusions that can

be drawn from analyzing the kind of data Sussmann shared with the FBI; and third, the methods

investigators would use to validate or further examine that data. All six proposed testimony

topics listed in the government’s opposition brief appear to fall within those parameters. See

Gov’s Expert Opp’n at 3–4, ECF No. 69. These topics are generally relevant to the theory of

materiality the government plans to pursue in its case in chief, and expert testimony on those

subjects will aid the jury in understanding the technical aspects of the case. The Court will

reserve ruling on any objections to specific testimony until trial.

       The government suggests that Special Agent Martin’s testimony may go further,

depending on what theories Sussmann pursues in cross-examination or his defense case.

Consistent with its findings above, the Court will allow the government’s expert to testify about

the accuracy (or lack thereof) of the specific data provided to the FBI here only in certain limited




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         Mr. Sussmann also urges the Court to exclude the expert testimony on the ground that
the government’s notice was untimely and insufficiently specific. See Expert Mot. at 6–10; Fed.
R. Crim. P. 16(a)(1)(G). Because the Court will limit Special Agent Martin’s testimony largely
to general explanations of the type of technical data that has always been part of the core of this
case—much of which Mr. Sussmann does not object to—any allegedly insufficient or belated
notice did not prejudice him. See United States v. Mohammed, No. 06-cr-357, 2008 WL
5552330, at *3 (D.D.C. May 6, 2008) (finding that disclosure nine days before trial did not
prejudice defendant in part because its subject was “hardly a surprise”) (citing United States v.
Martinez, 476 F.3d 961, 967 (D.C. Cir. 2007)).

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circumstances. In particular, if Sussmann seeks to establish at trial that the data were accurate,

and that there was in fact a communications channel between Alfa Bank and the Trump

Campaign, expert testimony explaining why this could not be the case will become relevant.

But, as the Court noted above, additional testimony about the accuracy of the data—expert or

otherwise—will not be admissible just because Mr. Sussmann presents evidence that he “relied

on Tech Executive-1’s conclusions” about the data, or “lacked a motive to conceal information

about his clients.” Gov’s Expert Opp’n at 11. As the Court has already explained, complex,

technical explanations about the data are only marginally probative of those defense theories.

The Court will not risk confusing the jury and wasting time on a largely irrelevant or tangential

issue. See United States v. Libby, 467 F. Supp. 2d 1, 15 (D.D.C. 2006) (excluding evidence

under Rule 403 where “any possible minimal probative value that would be derived . . . is far

outweighed by the waste of time and diversion of the jury’s attention away from the actual

issues”).

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       For the foregoing reasons, it is hereby

       ORDERED that [60] Defendant’s Motion in Limine To Preclude Evidence Regarding

the Gathering of Data, the Accuracy of Data or its Analysis, or the Steele Dossier is GRANTED

in part and DENIED in part. It is further

       ORDERED that [66] Defendant’s Motion to Exclude the Government’s Proposed

Witness Testimony is GRANTED in part and DENIED in part.

       SO ORDERED.


       DATE: April 25, 2022                            ________________________
                                                       CHRISTOPHER R. COOPER
                                                       United States District Judge


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